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                                               L.B.F. 3015.1

                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF PENNSYLVANIA

In re: Rosa Machuca                               Case No.:

                                                  Chapter:         13

                  Debtor(s)
                              FIFTH AMENDED Chapter 13 Plan

          XX Amended

Date:     June 29, 2021

                              THE DEBTOR HAS FILED FOR RELIEF UNDER
                               CHAPTER 13 OF THE BANKRUPTCY CODE

                                   YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the
actual Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss
them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN
MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4.
This Plan may be confirmed and become binding, unless a written objection is filed.

                   IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                  MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                               NOTICE OF MEETING OF CREDITORS.

 Part 1: Bankruptcy Rule 3015.1(c) Disclosures

         Plan contains non-standard or additional provisions – see Part 9
         Plan limits the amount of secured claim(s) based on value of collateral – see Part 4
         Plan avoids a security interest or lien – see Part 4 and/or Part 9

 Part 2: Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN
 EVERY CASE

 § 2(a)(1) Initial Plan:
         Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $44,999.93__
          Debtor shall pay the Trustee $750.00______ per month for 60 months; and
          .
       Other changes in the scheduled plan payment are set forth in § 2(d)

         Other changes in the scheduled plan payment are set forth in § 2(d)




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 §2(a)(2) THIRD Amended Plan:

         Total Base Plan Amount to be Paid to the Chapter 13 Trustee (“Trustee”) $39,800.00

          Beginning March 20,2020 through February 2021 Debtor has already paid $11,250.00 to the
          Trustee reducing the base amount of the Plan to $28,550.00.
          Beginning June 2021 Debtor shall pay the Trustee $634.44 per month for the remaining
          45 months of the plan.




      § 2(b) Debtor shall make plan payments to the Trustee from the following sources in
 addition to future wages (Describe source, amount and date when funds are available, if
 known):
 Debtor shall make monthly plan payments directly to the Trustee from the household’s regular monthly
 income from Social Security Disability Benefits, disclosed on Sch. I.

     § 2(c) Alternative treatment of secured claims:
          None. If “None” is checked, the rest of § 2(c) need not be completed.

          Sale of real property
          See § 7(c) below for detailed description

          Loan modification with respect to mortgage encumbering property:
           See § 4(f) below for detailed description

     § 2(d) Other information that may be important relating to the payment and length of Plan:


     § 2(e) Estimated Distribution:
        A. Total Priority Claims (Part 3)
             1.   Unpaid attorney’s fees                                $ 0.00
             2.   Unpaid attorney’s costs                               $ 0.00
             3.   Other priority claims (e.g., priority taxes)          $0.00
         B. Total distribution to cure defaults (§ 4(b))                $0.00
         C. Total distribution on secured claims (§§ 4(c) &(d))         $35879.00
         D. Total distribution on unsecured claims (Part 5)             $600.00
                                             Subtotal                   $36479
         E. Estimated Trustee’s Commission                              $3,321.00
         F. Base Amount                                                 $39,800.00

 Part 3: Priority Claims (Including Administrative Expenses & Debtor’s Counsel Fees)




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     § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full
 unless the creditor agrees otherwise:

  Creditor                               Type of Priority                       Estimated Amount to be Paid
  N/A




      § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid
 less than full amount.
        None. If “None” is checked, the rest of § 3(b) need not be completed.
         The allowed priority claims listed below are based on a domestic support obligation that has been
  assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim. This plan
  provision requires that payments in § 2(a) be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).


   Name of Creditor                                             Amount of claim to be paid

   N/A




 Part 4




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      § 4(a) Secured claims not provided for by the Plan:
        X - None. If “None” is checked, the rest of § 4(a) need not be completed.
  Creditor                                                             Secured Property

   If checked, debtor will pay the creditor(s) listed below
  directly in accordance with the contract terms or otherwise by
  agreement.



   If checked, debtor will pay the creditor(s) listed below
  directly in accordance with the contract terms or otherwise by
  agreement.




      § 4(b) Curing default and maintaining payments
         None. If “None” is checked, the rest of § 4(b) need not be completed.
      The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and,
   Debtor shall pay directly to creditor monthly obligations falling due after the bankruptcy filing in accordance
   with the parties’ contract.

    Creditor                   Description       Current Monthly           Estimated      Interest Rate   Amount to
                               of Secured        Payment to be             Arrearage      on              be Paid to
                               Property          paid directly to                         Arrearage, if   Creditor by
                               and               creditor by                              applicable      the Trustee
                               Address, if       Debtor                                   (%)
                               real
                               property
                                                                                          0.00%




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     § 4(c) Allowed secured claims to be paid in full: based on proof of claim or pre-
 confirmation determination of the amount, extent or validity of the claim
        None. If “None” is checked, the rest of § 4(c) need not be completed.

         (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion
 of payments under the plan.

            (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to
 determine the amount, extent or validity of the allowed secured claim and the court will make its determination
 prior to the confirmation hearing.

         (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general
 unsecured claim under Part 5 of the Plan or (B) as a priority claim under Part 3, as determined by the court.

           (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
 § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different
 interest rate or amount for “present value” interest in its proof of claim or otherwise disputes the amount provided
 for “present value” interest, the claimant must file an objection to confirmation.

          (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim
 and release the corresponding lien.

                           Description of
  Name of Creditor         Secured Property          Total Allowed     Present       Dollar            Total Amount
                           and Address, if real      Secured           Value         Amount of         to be paid
                           property                  Claim             Interest      Present
                                                                       Rate          Value
                                                                                     Interest


  SYI 2019 LLC             4031 North 8th Street     30,500            6%            35379
                           Philadelphia, PA 19130                                                      35879




      § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506
       None. If “None” is checked, the rest of § 4(d) need not be completed.

     The claims below were either (1) incurred within 90 days before the petition date and secured by a purchase
 money security interest in a motor vehicle acquired for the personal use of the debtor(s), or (2) incurred within 1
 year of the petition date and secured by a purchase money security interest in any other thing of value.

       (1) The allowed secured claims listed below shall be paid in full and their liens retained until completion of
 payments under the plan.

          (2) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
 § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different
 interest rate or amount for “present value” interest in its proof of claim, the court will determine the present value
 interest rate and amount at the confirmation hearing.

 Name of Creditor            Collateral         Amount of          Present Value      Estimated total payments
                                                Claim              Interest
                                                                            %         $

                                                                              %       $

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        § 4(e) Surrender
           None. If “None” is checked, the rest of § 4(e) need not be completed.

             (1) Debtor elects to surrender the secured property listed below that secures the creditor’s claim.
             (2) The automatic stay under 11 U.S.C. § 362(a) and 1301(a) with respect to the secured property
 terminates upon confirmation of the Plan.
             (3) The Trustee shall make no payments to the creditors listed below on their secured claims.

  Creditor                                                      Secured Property
  N/A




        § 4(f) Loan Modification
           None. If “None” is checked, the rest of § 4(f) need not be completed.
          (1) Debtor shall pursue a loan modification directly with                      or its successor in interest
  or its current servicer (“Mortgage Lender”), in an effort to bring the loan current and resolve the secured
  arrearage claim.

         (2) During the modification application process, Debtor shall make adequate protection payments
  directly to Mortgage Lender in the amount of $           per month, which represents
  (describe basis of adequate protection payment). Debtor shall remit the adequate protection payments
  directly to the Mortgage Lender.

          (3) If the modification is not approved by              (date), Debtor shall either (A) file an amended
  Plan to otherwise provide for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seek
  relief from the automatic stay with regard to the collateral and Debtor will not oppose it.

 Part 5: General Unsecured Claims


        § 5(a) Separately classified allowed unsecured non-priority claims
           None. If “None” is checked, the rest of § 5(a) need not be completed.

                             Basis for Separate
  Creditor                   Classification             Treatment                    Amount of            Amount to
                                                                                     Claim                be paid
  N/A




        § 5(b) Timely filed unsecured non-priority claims
            (1) Liquidation Test (check one box)
                 All Debtor(s) property is claimed as exempt.
                x Debtor(s) has non-exempt property valued at $9,356.07 for purposes of § 1325(a)(4) and plan
 provides for distribution of $ 600 to allowed priority and unsecured general creditors.

              (2) Funding: § 5(b) claims to be paid as follows (check one box):
                 Pro rata
                 XX 100%
                  Other (Describe)



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 Part 6: Executory Contracts & Unexpired Leases


         None. If “None” is checked, the rest of § 6 need not be completed.

  Creditor                             Nature of Contract or Lease          Treatment by Debtor Pursuant to §365(b)

  N/A




 Part 7: Other Provisions

      § 7(a) General principles applicable to the Plan
          (1) Vesting of Property of the Estate (check one box)
                    Upon confirmation
                    Upon discharge

         (2) Subject to Bankruptcy Rule 3012, the amount of a creditor’s claim listed in its proof of claim controls
 over any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

          (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under §
 1326(a)(1)(B),(C) shall be disbursed to the creditors by the debtor directly. All other disbursements to creditors
 shall be made by the Trustee.

          (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is
 the plaintiff, before the completion of plan payments, any such recovery in excess of any applicable exemption will
 be paid to the Trustee as a special Plan payment to the extent necessary to pay priority and general unsecured
 creditors, or as agreed by the Debtor and the Trustee and approved by the court.

     § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s
 principal residence

         (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such
 arrearage.

          (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage
 obligations as provided for by the terms of the underlying mortgage note.

         (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole
 purpose of precluding the imposition of late payment charges or other default-related fees and services based on
 the pre-petition default or default(s). Late charges may be assessed on post-petition payments as provided by the
 terms of the mortgage and note.

         (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the
 Debtor pre-petition, and the Debtor provides for payments of that claim directly to the creditor in the Plan, the
 holder of the claims shall resume sending customary monthly statements.

         (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon
 books for payments prior to the filing of the petition, upon request, the creditor shall forward post-petition coupon
 book(s) to the Debtor after this case has been filed.

        (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon
 books as set forth above.


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     § 7(c) Sale of Real Property
        None. If “None” is checked, the rest of § 7(c) need not be completed.




  Part 8: Order of Distribution



 The order of distribution of Plan payments will be as follows:

      Level 1:   Trustee Commissions*
      Level 2:   Domestic Support Obligations
      Level 3:   Adequate Protection Payments
      Level 4:   Debtor’s attorney’s fees
      Level 5:   Priority claims, pro rata
      Level 6:   Secured claims, pro rata
      Level 7:   Specially classified unsecured claims
      Level 8:   General unsecured claims, pro rata
      Level 9:   Untimely filed general unsecured non-priority claims to which debtor has not objected

 *Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee
 not to exceed ten (10) percent.




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 Part 9: Non Standard or Additional Plan Provisions

    Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable
    box in Part 1 of this Plan is checked. Nonstandard or additional plan provisions placed elsewhere in the Plan
    are void.

     None. If “None” is checked, the rest of Part 9 need not be completed.

    § 9(a): ADDITIONAL PLAN PROVISIONS - CONFIRMATION OF THIS PLAN WILL CONSTITUTE A
    FINDING AND ORDER THAT:

    (1) Refusal of Disbursements - In the event that any creditor in any class refuses any
         disbursement from the standing trustee, the standing trustee shall be authorized to disburse
         those funds to other creditors in the same class, or if all such similarly classified creditors
         have already been paid, to other creditors in the next level of priority, without seeking a
         modification of the plan.
    (2) Secured Claims Provided for by Part 4 of the Plan - The amounts of the allowed secured
        claims and arrears claims provided for in this Plan represent the full extent of the Debtor’s
        liability on those claims as of the date this case was filed. If the amounts of either the allowed
        secured claims or arrears claims are paid through this Plan, the applicable creditors may not
        thereafter assert that further amounts are due on their pre-petition claims.
    (3) Plan in Good Faith - The Plan constitutes the Debtor’s best efforts under all the circumstances,
        and was proposed in good faith, and all of the Debtor’s projected disposable income will be
        applied to payments under the Plan. Confirmation of this Plan shall also constitute a finding
        that the terms of the Plan, including extension of the life of the Plan beyond thirty-six (36)
        months, are essential to the success thereof. Absent the proposed reorganization, the Debtor
        would likely have to relinquish possession of his or her residence at a foreclosure sale, likely
        resulting in the catastrophic loss of the home and the failure of the bankruptcy;
    (See additional § 9 provisions continued on attached page(s)).




   By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no
 nonstandard or additional provisions other than those in Part 9 of the Plan.


  Date: June 29, 2021                                         /s/Dawn T. Williams, ESQ.
                                                              COMMUNITY LEGAL SERVICES, INC.
                                                              Attorney for Debtor(s)
                                                              Community Legal Services, Inc.
                                                              1410 W. Erie Avenue
                                                              Philadelphia, PA 19140
                                                              Tel: (215) 227-2400
                                                              Fax: (215) 227-2435
                                                              Email: mwilson@clsphila.org



         If Debtor(s) are unrepresented, they must sign below.

 Date:
                                                              Debtor

 Date:
                                                              Joint Debtor
 (continued on next page)


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 § 9(b): ADDITIONAL PLAN PROVISIONS - CONFIRMATION OF THIS PLAN WILL CONSTITUTE A
 FINDING AND ORDER THAT:
 (1) Redemption- The Debtor is entitled to redeem the property which is the subject of the allowed
     secured claim and upon completion of the terms of the Plan, Debtor has redeemed the property in
     accordance with the Municipal Claims and Tax Law Act (MCTLA).
 (2) Title Transfer- Within 30 days of the completion of the terms of the Plan, SYI 2019 LLC, or the
     holder of the allowed secured claim shall execute and deliver the Deed to the property located at
     4031 North 8th Street Philadelphia, PA 19140 to Debtor and or his counsel for recording.
 (3) Insurance- The Holder of the secured claim shall secure and maintain homeowners’ insurance on
     the property located at 4031 North 8th Street, Philadelphia, PA 19140. Debtor will reimburse the
     holder of the secured claim for the cost of the insurance.
 (4) Taxes- The Holder of the secured claim will pay the real estate taxes on the property located at
     4031 North 8th Street, Philadelphia, PA 19140. Upon proof of payment, Debtor will reimburse the
     Holder of the secured claim by making monthly payments on the taxes outside of the plaPlan
     Amount Controls over Claim Amount - Notwithstanding § 7(b)(2), above, the amount of a creditor’s
     claim listed in Parts 3, 4 or 5 of the Plan shall control over any contrary amounts listed in the
     creditor’s proof of claim.
 (5) Plan Not An Admission – The fact that this Plan provides for payment of the allowed secured
     claims of certain creditors shall not be deemed an admission that such creditors have allowed
     secured claims. The existence of such claims and the named creditors’ right to payment is
     contingent on the claim allowance process and the resolution of any complaint, adversary
     proceeding, or other objection filed by the debtors to any claims filed by the named creditors or by
     any other creditors;
 (6) Effect of Dismissal or Conversion – Pursuant to 11 U.S.C. §1325(a) (5) (B) (i) (II), if the Debtor’s
     Chapter 13 bankruptcy case is dismissed or converted without completion of this plan, the secured
     creditors shall retain any liens that they may have on the Debtor’s property to the extent
     recognized by the Code or by applicable non-bankruptcy law or by agreement of the parties. The
     terms of (i) any Orders entered by the Court or (ii) any settlement agreement(s) executed in
     settlement of Adversary Proceedings or motions filed in this case and executed between any
     creditors and the Debtor shall remain in full force and effect after dismissal or conversion of the
     bankruptcy case;
 (7) Credit Reporting - No creditor shall enter or cause to be entered any adverse or derogatory
     information on a credit report or provide adverse or derogatory information to a credit reporting
     agency as long as the debtor is performing in compliance with this plan;
 (8) Adjustment of Records - Upon completion of the Debtor’s Plan and within thirty (30) days of entry
     of a Discharge Order by the Court, all creditors provided for by this plan, whether priority, secured
     or unsecured, shall adjust their account records so as reflect that no further amounts are due and
     owing on the debtor’s accounts with the creditors. In the event that there is any dispute about the
     payment of these creditors, this Court shall retain jurisdiction to evaluate and enforce such
     creditors’ compliance with the Debtor’s plan;
 (9) Discharge of Debts - Upon completion of the plan, all debts listed in the debtor’s schedules,
     except those excepted by 11 U.S.C. § 1328(a) or as specifically provided for under this Plan, shall
     be discharged.
 (10)Retention of Jurisdiction - The Bankruptcy Court’s jurisdiction over the underlying bankruptcy case
     and any motion or Adversary Proceeding filed in this matter shall terminate upon entry of a
     discharge order by the Court. However, the Court shall retain jurisdiction to enforce the terms of
     this Plan or any order or decree entered by the Court.




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  Date: June 29, 2021                         /s/DAWN T.WILLIAMS
                                              COMMUNITY LEGAL SERVICES, INC.
                                              Attorney for Debtor(s)
                                              Community Legal Services, Inc.
                                              1410 W. Erie Avenue
                                              Philadelphia, PA 19140
                                              Tel: (215) 227-2400
                                              Fax: (215) 227-2435
                                              Email: dwilliams@clsphila.org




      (END)




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